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 8
      DINA EZZAT A. MIKHAIL, ET AL
 9
                            UNITED STATES DISTRICT COURT
10
11                        CENTRAL DISTRICT OF CALIFORNIA
12
     DINA EZZAT A. MIKHAIL                            Case No.: 5:23-cv-2008
13   TAMER MAGDY F. ZAKY
14   JASSY TAMER M. ZAKY
     JANAA TAMER M. ZAKY
15
16
                    Plaintiff(s),                      COMPLAINT FOR:
17
      vs.                                              1) DECLARATORY
18
                                                          AND INJUNCTIVE RELIEF
19                                                     2) WRIT IN THE NATURE OF
     UNITED STATES DEPARTMENT OF                          IMMIGRATION MANDAMUS
20
     HOMELAND SECURITY; UNITED
21   STATES CITIZENSHIP AND
     IMMIGRATION SERVICES; LOS
22
     ANGELES ASYLUM OFFICE; DAVID
23   RADEL; ALEJANDRO MAYORKAS;
     UR M. JADDOU; TED H. KIM;
24
     MATTHEW D. EMRICH;
25   CHRISTOPHER A. WRAY AND DOES
     1-10,
26
27                  Defendants.
28
      ____________________________________

          By and through her undersigned counsel, Plaintiffs; DINA EZZAT A. MIKHAIL,
      TAMER MAGDY F. ZAKY, JASSY TAMER M. ZAKY AND JANAA TAMER M. ZAKY, ,
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 1   (“Plaintiff(s)”) brings this action, individually or derivatively on behalf of DINA EZZAT A.
     MIKHAIL
 2
 3
 4
     INTRODUCTION
 5
        1. This action is brought by Plaintiff Dina Ezzat A. Mikhail, her derivative spouse Tamer
 6
 7          Magdy F. Zaky and her children Jassy Tamer M. Zaky and Janaa Tamer M. Zaky (herein
 8
            after called “Plaintiffs’) by and through their attorney, to request issuance of a writ of
 9
            mandamus or in the nature of mandamus and/or to compel under the Administrative
10
11          Procedure Act (“APA”) ordering Defendants and those acting under them to process an
12
            Application for Asylum and for Withholding of Removal which was received and
13
            pending as of March 20, 2017, and which has still not been called for an interview.
14
15      2. On February 13, 2017 Plaintiff(s) came to the United States at Los Angeles, California
16
            on a B2 visa and have stayed in the US ever since. On March 20, 2017, Plaintiff(s)
17
            submitted an I-589 Application for Asylum and Withholding of Removal to the
18
19          California Service Center which was subsequently assigned for processing and
20
            adjudication to the Defendant Los Angeles Asylum Office. See (Exhibit A: I-589
21
            Application for Asylum and Withholding of Removal and Receipt Notice). Plaintiffs
22
23          sought asylum in the United States of America based on past persecution and/or a well-
24
            founded fear of returning to Egypt on account of their Coptic Christian Orthodox religion.
25
        3. After submitting their application for asylum, Defendant USCIS instructed Plaintiff(s)
26
27          present themselves to biometric inspection at a designated USCIS Application Support
28
            Center on April 3, 2017. See (EXHIBIT B: I-797 Notice of Action- Fingerprint

            Notifications).
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 1
      4. After Plaintiff(s) provided their biometric information, neither Defendant USCIS nor Los
 2
 3       Angeles Asylum Office nor any of the other named Defendants communicated with
 4
         Plaintiff(s) about the exact date their asylum interview would be scheduled. Plaintiffs
 5
         added their names to a short list so that they could be called for an interview on a short
 6
 7       notice. Plaintiff(s) received a notice from Defendant Los Angeles Asylum Office
 8
         confirming Plaintiff’s request to add their names to the Standby List for an Affirmative
 9
         Asylum Interview on June 22, 2021). See (EXHIBIT C: USCIS Los Angeles Asylum
10
11       Office Standby List Acceptance Letter). Plaintiffs received no response from any of
12
         the Defendants The Plaintiff(s) have been waiting over 6 years for their interview date at
13
         this point. Plaintiff(s) have no way of knowing how much longer they will have to wait in
14
15       order to testify in support of their application for asylum. Plaintiff are unable to plan for
16
         their future and are forced to endure the constant uncertainty of the possibility their
17
         application will be denied and referred to The Executive Office for Immigration Review
18
19       (EOIR).
20
21    5. Defendants have violated the Administrative Procedures Act (“APA”) by failing to
22
         schedule Plaintiff's asylum application for an interview which has been pending now for
23
         over 5 years. Plaintiff(s) seek to compel Defendants, through a writ of mandamus, to
24
25       schedule an interview for the pending asylum application.
26
                                        PARTIES
27
      6. Plaintiffs are citizens of Egypt. They came to the United States on B2 visas on February
28
         13, 2017. Plaintiffs filed their I-589 Application for Asylum and Withholding of Removal

         and appeared at the designated Application Support Center during the appointed time
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 1       frame and provided their biometric information on April 3, 2017, within one year of their
 2
         arrival in the United States.
 3
      7. Defendant UNITED STATES DEPARTMENT OF HOMELAND SECURITY
 4
 5       (hereinafter “DHS”) is an agency of the United States government involved in the acts
 6
         challenged, employs the officers named as defendants, and includes the U.S. Citizenship
 7
         and Immigration Services and Los Angeles Asylum office and officers named as
 8
 9       defendants in this complaint.
10
      8. Defendant UNITED STATES CITIZENSHIP AND IMMIGRATION SERVICES
11
         (hereinafter “USCIS”) is an agency of the United States government under DHS,
12
13       overseeing the Los Angeles Asylum Office and officers named as defendants in this
14
         Complaint.
15
      9. Defendant LOS ANGELES ASYLUM OFFICE (hereinafter “Los Angeles Asylum
16
17       Office”) is an office within USCIS and the federal agency with direct authority and
18
         responsibility to adjudicate Plaintiff’s asylum application.
19
      10. Defendant DAVID RADEL (hereinafter “Director Radel”) is the director of the Los
20
21       Angeles Asylum Office. This suit is brought against Director Radel in his official
22
         capacity, as he is charged with overseeing the adjudication of the asylum applications at
23
         the Los Angeles Asylum Office in a timely manner, and ensuring the efficiency of the
24
25       officers employed.
26
      11. Defendant ALEJANDRO MAYORKAS (hereinafter “Secretary Mayorkas”) is the
27
         Secretary of the Department of Homeland Security. This suit is brought against Secretary
28
         Mayorkas in his official capacity, as he is charged with the administration and
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 1       enforcement of all immigration and citizenship laws that are bound in the powers, duties,
 2
         and functions of the Department of Homeland Security.
 3
      12. Defendant UR M. JADDOU (hereinafter “Director Jaddou”) is the Director of USCIS,
 4
 5       the Agency charged with adjudicating Plaintiff’(s) asylum application. This suit is
 6
         brought against Director Jaddou in her official capacity, as she is charged with oversight,
 7
         administration, and execution of immigration laws of the United States.
 8
 9    13. Defendant TED H. KIM (hereinafter “Associate Director KIM”) is the Associate Director
10
         of Refugee, Asylum, and International Operations. This suit is brought against Associate
11
         Director Kim in his official capacity, as he is charged with supervision over all asylum
12
13       offices, including the Los Angeles Asylum Office, and it requires some applications to be
14
         forwarded to headquarters before final adjudication, and may, upon information and
15
         belief, have ordered that Plaintiff’s case be forwarded to his office for its review.
16
17    14. Defendant MATTHEW D. EMRICH (hereinafter “Associate Director Emrich”) is the
18
         Associate Director of USCIS Fraud Detection and National Security Directorate. This
19
         suit is brought against Associate Director Emrich in his official capacity, as he supervises
20
21       all USCIS staff who review asylum applications to ensure that immigration benefits are
22
         not granted to individuals who pose a threat to national security or public safety, or who
23
         seek to defraud the immigration system. Certain applications must be reviewed by the
24
25       Fraud Detection and National Security Directorate before their final adjudication. Upon
26
         information and belief, USCIS has not adjudicated the Plaintiffs’ asylum application
27
         because the Fraud Detection and National Security Directorate has never completed its
28
         review.
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 1    15. Defendant CHRISTOPHER A. WRAY (hereinafter “Director Wray”) is the Director of
 2
         the Federal Bureau of Investigations. This suit is brought against Director Wray in his
 3
         official capacity, as he is responsible for overseeing the background checks involved with
 4
 5       immigration matters.
 6
                                        JURISDICTION
 7
      16. The Administrative Procedure Act recognizes a right of judicial review for any person
 8
 9       “suffering legal wrong because of an agency action or aggrieved or adversely affected by
10
         such action within the meaning of any relevant statutes.” 5 U.S.C. § 702. Plaintiff(s)
11
         suffered a legal wrong and continue to suffer because of the Defendents’ failure to act
12
13       upon the pending Asylum application for indefinite periods of time.
14
      17. The Court has jurisdiction over the present action pursuant to 8 C.F.R, § 204,
15
         Immigration & Nationality Act § 203 (b)(1)(C); 28 U.S.C. § 1131, 28 U.S.C. § 136, the
16
17       Mandamus Act; 28 U.S.C §2201, the Declaratory Judgement Act; and 5 U.S.C. §701-706,
18
         the Administrative Procedures Act. Costs and attorney fees will be sought pursuant to the
19
         Equal Access to Justice Act, 5 U.S.C. §504 and 28 U.S.C. §2412(d), et seq. Relief is
20
21       requested pursuant to said statutes.
22
      18. The APA also provides pursuant to 5 U.S.C. § 706(1) that courts “shall compel agency
23
         action unlawfully withheld.” Courts have held that this provision eliminates court
24
25       discretion to grant relief once an agency has violated a statutory deadline. See
26
         Biodiversity Legal Foundation v. Badgley, 309 F.3d 1166, 1178 (9th Cir. 2002) (noting
27
         that when “Congress has specifically provided a deadline for performance,…no
28
         balancing of factors is required or permitted.”
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 1                                      VENUE
 2
      19. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(e), which provides that in a
 3
         civil action in which each defendant is an officer or employee of the United States or any
 4
 5       agency thereof acting in his or her official capacity, or under the color of legal authority,
 6
         or any agency of the United States, the action may be brought in any judicial district in
 7
         which a plaintiff resides, so long as no real property is involved in the action. Plaintiff(s)
 8
 9       resides in Riverside, California, which is located in the Central District of California. No
10
         real property is involved in this action. Therefore, venue is proper in this Court.
11
                                 EXHAUSTION OF REMEDIES
12
13    20. Plaintiff(s) have no administrative remedies. Since Plaintiffs complied with their
14
         fingerprints requirement on April 3, 2017, they did not hear from any of the Defendants
15
         and have received no clear correspondence or communication from Defendant USCIS
16
17       nor Los Angeles Asylum Office about how much longer they will have to wait for the
18
         pending asylum application to be called for an interview. Plaintiff(s) had been waiting
19
         over 6 years at this point to have their asylum claim heard at the Los Angeles Asylum
20
21       Office. There are no administrative remedies for neglect of duty.
22
23
                                            CAUSE OF ACTION
24
25    21. Pursuant to 8 U.S.C §1158, Plaintiffs filed an application for Asylum and Withholding of
26
         Removal on March 20, 2017, and completed fingerprinting on April 3, 2017 and have
27
         filed their application within one year of their arrival to the US.
28
      22. Since filing their Application, Plaintiff(s) did not receive any concrete indication from the

         Defendant Los Angeles Asylum Office nor USCIS of the date their Asylum interview
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 1       will be scheduled. Plaintiffs therefore, have no way of knowing how much longer the
 2
         scheduling process will take.
 3
      23. Under 28 U.S.C. § 1361, the district courts shall have original jurisdiction of any action
 4
 5       in the nature of a mandamus to compel an officer or employee of the United States or any
 6
         agency thereof to perform a duty owed to the plaintiff.
 7
      24. Under the Administrative Procedures Act, a person suffering legal wrong because of
 8
 9       agency action, or adversely affected or aggrieved by agency action within the meaning of
10
         a relevant statute, is entitled to judicial review thereof.
11
      25. Defendants have a statutory duty to adjudicate asylum requests within 180 days of filing
12
13       pursuant to 8 U.S.C. § 1158 (d)(5)(A)(iii). It has been over 5 years since Plaintiff(s)
14
         applied for Asylum. Plaintiff(s) have yet to receive an interview date for their case.
15
      26. Plaintiff(s) have no adequate remedy at law, and will continue to suffer irreparable harm
16
17       if the asylum application is not promptly scheduled.
18
      27. Pursuant to 28 U.S.C. § 1361, this Court has “original jurisdiction in the nature of the
19
         mandamus to compel an officer or employee of the United States or any agency thereof
20
21       to perform a duty owed to the [Plaintiffs.]”
22
      28. Pursuant to 28 U.S.C. § 1651, this Court may issue any and all “writs necessary or
23
         appropriate in aid of [the Court’s] respective jurisdiction and agreeable to the usages and
24
25       principles of law.”
26
27
28
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 1                                        CLAIM FOR RELIEF
 2
      29. Plaintiffs claim in this action is clear and certain. Plaintiff(s) realleges paragraphs 1
 3
          through 28, and, as if fully set forth, Plaintiff(s) is entitled to an order in the nature of
 4
 5        mandamus to compel Defendants to complete administrative processing and schedule an
 6
          interview for the pending Asylum application.
 7
      30. As a result of the Defendants’ failure to adequately perform their duties, Plaintiff(s) have
 8
 9        suffered, are suffering, and will continue to suffer irreparable harm. Specifically:
10
          a. Plaintiff(s) have been irreparably damaged from the fear of not knowing or ability to
11
              prepare for their future concerning what will happen with their asylum case for 6
12
13            years Plaintiffs have been constantly hoping to have the case scheduled for an
14
              interview so their case could then be adjudicated and she and her family can progress
15
              with their lives. Due to the abnormally long wait and lack of certainty surrounding
16
17            when their asylum case will be heard, Plaintiff, her spouse and her derivative children
18
              are enduring significant psychological trauma.
19
          b. The delay is causing irreparable harm to Plaintiff(s) who are not able to progress with
20
21            their lives in the United States without fear of being forced to return to Egypt, a
22
              country where upon return it is reasonable to believe she and her family will be
23
              persecuted, tortured, or killed.
24
25    31. The Defendants, in violation of the Administrative Procedure Act, are unlawfully
26
          withholding or unreasonably delaying action on Plaintiffs’ application and have failed to
27
          carry out the non-discretionary adjudicative functions delegated to them by law with
28
          regard to their case.
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 1          32. The duty of the Defendants is non-discretionary, ministerial, and so plainly described as
 2
                to be free from doubt that mandamus is appropriate in this matter.
 3
            33. Plaintiffs have attempted to learn about the status of their pending Asylum and
 4
 5              Withholding of Removal application, all to no avail. Only the Los Angeles Asylum
 6
                Office can make decisions on scheduling an asylum interview, leaving no adequate
 7
                remedy.
 8
 9    Accordingly, Plaintiff(s) have been forced to pursue the instant action.
10
                                              PRAYER
11
     34.    WHEREFORE, in view of the arguments and authorities noted herein, Plaintiff(s)
12
13         respectfully pray that the Defendants be cited to appear herein and that, upon due consideration,
14
           the Court:
15
                    a. Accept jurisdiction and maintain continuing jurisdiction in this action;
16
17                  b. Declare as unlawful the violation by Defendants of failing to act on a properly
18
                        filed Asylum and Withholding of Removal application;
19
                    c. Declare Defendants’ failure to carry out the adjudicative functions delegated to
20
21                      them by law with regard to Plaintiff’s case as agency action unlawfully withheld
22
                        and unreasonably delayed, pursuant to 5 U.S.C. § 706(1);
23
                    d. Issue a preliminary and permanent injunction pursuant to 28 U.S.C. § 1361 and 5
24
25                      U.S.C. § 706(1) compelling the Defendants to take action on Plaintiffs’ asylum
26
                        application by scheduling an asylum interview and then timely adjudicating the
27
                        case subsequent to the interview;
28
                    e. Issue a writ in the nature of mandamus pursuant to 28 U.S.C. § 1361 and 5 U.S.C.

                        § 706(1), compelling the Defendants to take action on Plaintiff(s) Withholding of
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 1                Removal Application by scheduling an interview and then timely adjudicating the
 2
                  case subsequent to the interview;
 3
               f. Grant attorney’s fees and costs of this suit under the Equal Access to Justice Act,
 4
 5                28 U.S.C. § 2412;
 6
               g. Grant such relief at law and in equity as justice may require.
 7
 8
 9   Date: October 02, 2023
10
                                                               Respectfully submitted,
11
                                                           /s/ Gihan L. Thomas, Esq.
12
                                                                 _______________
13                                                                Gihan L. Thomas
                                              Certified Specialist, Immigration and Nationality Law
14
                                              State Bar of California, Board of Legal Specialization
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 1   LIST OF EXHIBITS TO COMPLAINT FOR DECLARATORY AND
 2   INJUNCTIVE RELIEF AND FOR A WRIT IN THE NATURE OF
     IMMIGRATION MANDAMUS FOR DINA EZZAT A. MIKHAIL,
 3
     ET AL. v. UNITED STATES DEPARTMENT OF HOMELAND SECURITY
 4   ET AL.
 5
     EXHIBIT                                                                                                  PAGES
 6
 7   A. I-589 Application for Asylum, Plaintiff’s Declaration, and Receipt Notice............................... 1
 8   B. I-797 Notice of Action - Fingerprint Notifications of Plaintiff(s)............................................. 33
 9
     C. USCIS Los Angeles Asylum Office Standby List Acceptance Letter.......................................37
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                                                                            U.S. Department of Homeland Security
                                                                            P.O. Box 2003
                                                                            Tustin CA 92781-2003



                                                                           U.S. Citizenship
                                                                           and Inmiigration
                                                                           Services


06/22/2021

MIKHAIL,DINA
798 PLAYA BLANCA CIR
CORONA,CA 92879

Re: A-21304805

DMTMIKHAILrDINTt:


This letter serves as your notification that the Los Angeles Asylum Office received your request to add your name
to the Standby List for an Affirmative Asylum Interview. Your request has been approved and your name has
been added to the Standby List.

As a reminder, you must comply with all requirements outlined on the “REQUEST TO BE ADDED TO THE
LOS ANGELES ASYLUM STANDBY LIST” form to remain eligible for the Standby List.

Failure to comply with these requirements, will result in your removal from the Standby List. Removal from the
Standby List does not impact your eligibility for asylum, and you would be scheduled for an interview based on
USCIS standard prioritization of scheduling cases.

Sincerely,

        Ui
David M. Radel
Director, Los Angeles Asylum Office


       LAW^FFie&ORGE^^ES-NffiLEKA
       ATTN: GEORGES MELEKA
       512 S HARBOR BLVD
       FULLERTON,CA 92832




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